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AO 245B-CAED(Rev. 11/2016) Sheet 1 - Judgment in a Criminal Case



                            UNITED STATES DISTRICT COURT
                                               Eastern District of California
             UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE
                        v.                                              Case Number: 1:15CR00233-003
          VICTOR HUGO SORIANO-VILLAFAN                                  Defendant's Attorney: Megan T. Hopkins, Assistant Federal Defender
      AKA: Victor Hugo Villafan-Soriano, Victor Hugo Villafan
THE DEFENDANT:
     pleaded guilty to count 1 of the Indictment.
     pleaded nolo contendere to count(s)      which was accepted by the court.
     was found guilty on count(s)     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
                                                                                                           Date Offense          Count
Title & Section                       Nature Of Offense
                                                                                                           Concluded             Number
                                                                                                           October 2011
                                      Conspiracy to Commit Mail Fraud
18 U.S.C. § 1349                                                                                           through               One
                                      (Class C Felony)
                                                                                                           August 2014

       The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

     The defendant has been found not guilty on count(s)      .
     Counts 2-11 are dismissed on the motion of the United States.
     Indictment is to be dismissed by District Court on motion of the United States.
     Appeal rights given.                      Appeal rights waived.

        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution or fine, the defendant must notify the court and United States Attorney of material changes in economic
circumstances.
                                                                      2/1/2017
                                                                      Date of Imposition of Judgment




                                                                      Signature of Judicial Officer
                                                                      Dale A. Drozd, United States District Judge
                                                                      Name & Title of Judicial Officer
                                                                      2/7/2017
                                                                      Date
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AO 245-CAED(Rev. 11/2016) Sheet 2 - Imprisonment
DEFENDANT:VICTOR HUGO SORIANO-VILLAFAN                                                                                          Page 2 of 8
CASE NUMBER:1:15CR00233-003

                                                         IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
27 months.

      No TSR: Defendant shall cooperate in the collection of DNA.

      The court makes the following recommendations to the Bureau of Prisons:
      The Court recommends that the defendant be incarcerated in a California facility, specifically Taft, but only insofar as this
      accords with security classification and space availability.

      The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district
              at     on     .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before       on    .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Officer.
       If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                      to
at                                                 , with a certified copy of this judgment.



                                                                      United States Marshal


                                                                      By Deputy United States Marshal
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AO 245-CAED(Rev. 11/2016) Sheet 3 - Supervised Release
DEFENDANT:VICTOR HUGO SORIANO-VILLAFAN                                                                                         Page 3 of 8
CASE NUMBER:1:15CR00233-003

                                                         SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
36 months (unsupervised if deported).

                                                    MANDATORY CONDITIONS
You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two (2) periodic drug tests thereafter, not to exceed four (4) drug tests per month.



      The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
      abuse.

      You must cooperate in the collection of DNA as directed by the probation officer.

      You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
      directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
      reside, work, are a student, or were convicted of a qualifying offense.

      You must participate in an approved program for domestic violence.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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AO 245-CAED(Rev. 11/2016) Sheet 3 - Supervised Release
DEFENDANT:VICTOR HUGO SORIANO-VILLAFAN                                                                                         Page 4 of 8
CASE NUMBER:1:15CR00233-003

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
         release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
         different time frame.
2.       After initially reporting to the probation office, you will receive instructions from the Court or the probation officer about
         how and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
         from the Court or the probation officer.
4.       You must answer truthfully the questions asked by the probation officer.
5.       You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
         living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
         change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
         probation officer within 72 hours of becoming aware of a change or expected change.
6.       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
         officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses
         you from doing so. If you do not have full-time employment, you must try to find full-time employment, unless the probation
         officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
         or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
         probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
         officer within 72 hours of becoming aware of a change or expected change.
8.       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
         been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
         permission of the probation officer.
9.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person, such as
         nunchakus or tasers).
11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
         without first getting the permission of the Court.
12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
         may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
         contact the person and confirm that you have notified the person about the risk.
13.      You must follow the instructions of the probation officer related to the conditions of supervision.
                                                     U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature _____________________________ Date _________________
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AO 245-CAED(Rev. 11/2016) Sheet 3 - Supervised Release
DEFENDANT:VICTOR HUGO SORIANO-VILLAFAN                                                                                             Page 5 of 8
CASE NUMBER:1:15CR00233-003

                                          SPECIAL CONDITIONS OF SUPERVISION
1.       The defendant shall submit to the search of his person, property, home, and vehicle by a United States probation officer, or
         any other authorized person under the immediate and personal supervision of the probation officer, based upon reasonable
         suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation. The defendant shall warn
         any other residents that the premises may be subject to searches pursuant to this condition.
2.       The defendant shall not dispose of or otherwise dissipate any of his assets until the fine and/or restitution ordered by this
         Judgment is paid in full, unless the defendant obtains approval of the Court or the probation officer.
3.       The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance, judgments and any
         anticipated or unexpected financial gains to any unpaid restitution ordered by this Judgment.
4.       The defendant shall provide the probation officer with access to any requested financial information.
5.       The defendant shall not open additional lines of credit without the approval of the probation officer.
6.       Pursuant to 18 USC 3583(d)(3), upon completion of the term of imprisonment, the defendant is to be surrendered to a duly
         authorized Immigration official for deportation proceedings in accordance with the established procedures provided by the
         Immigration and Nationality Act. If ordered deported, the defendant, during the term of supervised release, shall remain
         outside the United States and shall not re-enter the United States without the consent of the Secretary of the Department of
         Homeland Security of the United States.

         Upon any re-entry, lawful or unlawful, into the United States, the defendant shall report in person to the United States
         Probation Office in the Eastern District of California within 72 hours.
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AO 245-CAED(Rev. 11/2016) Sheet 5 - Criminal Monetary Penalties
DEFENDANT:VICTOR HUGO SORIANO-VILLAFAN                                                                                         Page 6 of 8
CASE NUMBER:1:15CR00233-003

                                              CRIMINAL MONETARY PENALTIES

        The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                            Assessment                  Fine                   Restitution
         TOTALS                                              $100.00                                          $695,674.39
      The determination of restitution is deferred until          . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

Name of Payee                                                Total Loss*     Restitution Ordered Priority or Percentage
Access General Insurance Company
3 Ravinia Drive, Ste 400                                           $0.00               $84,273.27
Atlanta, GA 30346
Allstate Insurance
10100 Trinity Parkway, #200                                        $0.00               $10,890.35
Stockton, CA 95219
Affirmative Insurance
                                                                   $0.00               $14,152.02
P.O. Box 9041, Addison, TX 75001
Explorer Insurance
P.O. Box 906                                                       $0.00               $35,494.87
Santa Clarita, CA 91380
Farmers Insurance
1190 Saratoga Ave., Suite 200                                      $0.00              $109,053.25
San Jose, CA 95129
GEICO
712 Bancroft Rd. #280                                              $0.00              $128,143.99
Walnut Creek, CA 94598
Infinity Insurance Company
13340 183rd St Suite 100                                           $0.00               $32,327.06
Cerritos, CA 90703
Kemper Services Group
603 Seagaze Drive #794                                             $0.00               $25,826.38
Oceanside, CA 92054
Nationwide Insurance
Three Nationwide Plaza,                                            $0.00               $18,125.99
Columbus, OH 43215
Progressive Insurance
2860 North Main Street Suite                                       $0.00               $57,602.52
150, Walnut Creek, CA 94597
Sentry Insurance
9060 E. Via Linda Blvd                                             $0.00               $36,001.13
Scottsdale, AZ 85258
Western General Insurance
5230 Las Virgenes Road                                             $0.00               $19,128.40
Calabasas, CA 91302
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AO 245-CAED(Rev. 11/2016) Sheet 5 - Criminal Monetary Penalties
DEFENDANT:VICTOR HUGO SORIANO-VILLAFAN                                                                                            Page 7 of 8
CASE NUMBER:1:15CR00233-003

State Farm Insurance
P.O. Box 52257                                                       $0.00                   $124,655.16
Phoenix, AZ 85072-2257
Totals                                                       $____                           $695,674.39
      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalities for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             The interest requirement is waived for the              fine      restitution

             The interest requirement for the            fine        restitution is modified as follows:


      If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
      through the Bureau of Prisons Inmate Financial Responsibility Program.

      If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
      shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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AO 245-CAED(Rev. 11/2016) Sheet 6 - Schedule of Payments
DEFENDANT:VICTOR HUGO SORIANO-VILLAFAN                                                                                            Page 8 of 8
CASE NUMBER:1:15CR00233-003

                                                     SCHEDULE OF PAYMENTS
        Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A.               Lump sum payment of $ 695,774.39 due immediately, balance due
                       Not later than      , or
                       in accordance          C,           D,   E,or    F below; or
B.               Payment to begin immediately (may be combined with             C,       D,    or    F below); or

C.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $      over a period of       (e.g. months or
                 years), to commence    (e.g. 30 or 60 days) after the date of this judgment; or

D.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $   over a period of      (e.g. months or
                 years), to commence    (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

E.               Payment during the term of supervised release/probation will commence within      (e.g. 30 or 60 days) after release
                 from imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at
                 that time; or

F.               Special instructions regarding the payment of crimimal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

         Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate: See Attachment A: Restitution Amounts and Payee Information.

         The defendant shall pay the cost of prosecution.

         The defendant shall pay the following court cost(s):

         The defendant shall forfeit the defendant's interest in the following property to the United States:
         The Amended Order for Forfeiture Money Judgment filed 2/2/2017, is hereby made final.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court
costs.
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             ATTACHMENT A: U.S. v. Soriano-Villafan, 15-cr-233-DAD
                  Restitution Amounts and Payee Information

                                Restitution       Joint and Several Liability (If
 Victim Name and Address
                                 Amount                     Applicable)
   Access General Insurance                   Joint and Several with Co-defendants
            Company                         Sanchez-Becerra and Oscar Diaz Landa, up
                                 $84,273.27
    3 Ravinia Drive, Ste 400                to their respective restitution amounts.
       Atlanta, GA 30346
     Affirmative Insurance                    N/A
  P.O. Box 9041, Addison, TX     $14,152.02
              75001
       Allstate Insurance                     Joint and Several with Co-defendants
 10100 Trinity Parkway, #200    $10,890.35 Sanchez-Becerra and Oscar Diaz Landa, up
      Stockton, CA 95219                    to their respective restitution amounts.
       Explorer Insurance                     Joint and Several with Co-defendants
 P.O. Box 906, Santa Clarita,   $35,494.87 Sanchez-Becerra and Oscar Diaz Landa, up
            CA 91380                        to their respective restitution amounts.
       Farmers Insurance                      Joint and Several with Co-defendant
1190 Saratoga Ave., Suite 200   $109,053.25 Oscar Diaz Landa, up to his respective
      San Jose, CA 95129                    restitution amount.
                                              Joint and Several with Co-defendants
          GEICO
                                            Sanchez-Becerra, Oscar Diaz Landa and
   712 Bancroft Rd. #280        $128,143.99
                                            Alfonso Apu, up to their respective
  Walnut Creek, CA 94598
                                            restitution amounts.
 Infinity Insurance Company                   Joint and Several with Co-defendants
  13340 183rd St Suite 100      $32,327.06 Sanchez-Becerra and Oscar Diaz Landa, up
      Cerritos, CA 90703                    to their respective restitution amounts.
   Kemper Services Group                      N/A
  603 Seagaze Drive #794        $25,826.38
     Oceanside, CA 92054
    Nationwide Insurance                      Joint and Several with Co-defendants
   Three Nationwide Plaza,      $18,125.99 Oscar Diaz Landa and Alfonso Apu, up to
     Columbus, OH 43215                     their respective restitution amounts.
    Progressive Insurance                     Joint and Several with Co-defendant
2860 North Main Street Suite    $57,602.52 Alfonso Apu, up to his respective
150, Walnut Creek, CA 94597                 restitution amount.
       Sentry Insurance                       Joint and Several with Co-defendant
   9060 E. Via Linda Blvd,      $36,001.13 Oscar Diaz Landa, up to his respective
     Scottsdale, AZ 85258                   restitution amount.
    State Farm Insurance                      Joint and Several with Co-defendants
        P.O. Box 52257          $124,655.16 Sanchez-Becerra and Oscar Diaz Landa, up
  Phoenix, AZ 85072-2257                    to their respective restitution amounts.
 Western General Insurance                    N/A
  5230 Las Virgenes Road,       $19,128.40
     Calabasas, CA 91302
           Total                $695,674.39
